






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00110-CV






Texas Parks &amp; Wildlife Department; Andrew Sansom, former Executive Director of the
Texas Parks &amp; Wildlife Department, in his official capacity; Carter Smith, present
Executive Director of the Texas Parks &amp; Wildlife Department, in his official capacity,
Appellants


v.


Milburn Dearing, Kenneth Head, Mike Warren, Ronnie L. Ainsworth, Alton E. Anderson,
Wayne Armstrong, Ronnie Aston, Stephen Backor, Edgar D. Baker, Kenneth L. Baker,
Stephen A. Barbour, William H. Bearden, Larry N. Benge, Ronald M. Bennett, Ralph E.
Bishop, Winston E. Bishop, William D. Blackburn, Michael W. Bradshaw, Ronald Brooks,
Garland W. Burney, Andy G. Carr, Jack H. Chancey, Tommy H. Charbula, Jerry Chilton,
Bobby D. Colston, Larry H. Cranford, Billy A. Dodd, Gordon K. Eckert, Raymond D.
Evans, Bobby Fenton, Bobby R. Ferguson, Keith R. Foltermann, William Francis, Faustino
S. Garcia, Charles Gluck, Bobby L. Goff, John D. Gould, David E. Greene, Larry H.
Griffin, Robert L. Hall, Kenneth N. Hand, Jerry D. Hearn, William J. Hiles, Gary W.
Hobbs, Jerome S. Hohman, Gary M. Hunt, Samuel T. Ilse, Donald W. Jackson, Nolan
Brent Johnson, August J. Kaderka, Johnny C. Karstedt, Steven Kennedy, James Kitchens,
Rodney A. Knight, Charles D. Koenig, Jackie W. Kohleffell, Ronald Kramer, Arthur L.
Lawrence, John LeLeux, Ernest L. Lerma, Robert A. Levens, Frank Luna, Kenneth W.
Lunsford, William W. McClendon, William McCool, Malcolm McDonald, Kirby D.
McRorey, Jimmy D. Mangum, Steven Medford, Forester Mills, Ernest B. Mobley, Timothy
M. Moorman, Audie D. Nelson, Kenneth D. Nevins, James E. Nixon, Jr., Robert D.
Norman, Larry D. Osborne, Eliseo Padilla, David L. Pagel, Douglas B. Parker, Billy G.
Patton, Mitchell L. Pawlik, David N. Perry, Michael A. Pike, Michael R. Porter, William O.
Potts, Charles M. Reed, Sammy Rippey, Larry B. Rowe, Lauro Salinas, Hilda M. Sanchez,
Benjie J. Smith, Jay Smith, Gustavo Sorola, Douglas Spivey, Raymond V. Stallings,
Michael V. Stinson, Dennis B. Thomas, Richard E. Thomas, Danny R. Tuggle, Dennis Mike
Urban, Steve R. Vail, Richard Veach, Jose Vega, Charles Vest, Danny Villalobos, Michael
L. Walker, Ronny O. Ward, Malcolm Watson, Harvey Burt Williams, Velton Williams,
Marvin C. Wills, Robert W. Wolford, and Pat Woodmansee, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-GN-01-002867, HONORABLE GISELA D. TRIANA-DOYAL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



		The parties have filed a joint motion requesting that this appeal be dismissed.  See
Tex. R. App. P. 42.1(a)(1).  We grant the motion and dismiss the appeal.

	


__________________________________________						Diane M. Henson, Justice

Before Justices Puryear, Pemberton and Henson

Dismissed on Joint Motion

Filed:   May 20, 2011




										


